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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


 Patricia Bracy,

                           Plaintiff,              Civil Action No.

           – against–

 Credit First, National Association and            COMPLAINT
 Equifax Information Services, LLC,

                           Defendant(s).


                                        COMPLAINT

       Plaintiff, Patricia Bracy (hereinafter “Plaintiff”), by and through her attorneys, the

Law Offices of Robert S. Gitmeid & Associates, PLLC, by way of Complaint against

Defendants, Credit First, National Association (“Credit First”) and Equifax Information

Services, LLC (“Equifax”) alleges as follows:

                                    INTRODUCTION

      1. This is an action for damages brought by an individual consumer for

         Defendants’ violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

         seq. (the “FCRA”) and other claims related to unlawful credit reporting

         practices. The FCRA prohibits furnishers of credit information from falsely

         and inaccurately reporting consumers’ credit information to credit reporting

         agencies.

                                          PARTIES

      2. Plaintiff, Patricia Bracy, is an adult citizen of Ohio.

      3. Plaintiff is a "consumer" as defined by 15 U.S.C. § 1681a(c) of the FCRA.

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4. Defendant Credit First is a business entity that furnishes consumer credit

    information to consumer reporting agencies.

5. Defendant Equifax is a limited liability company that engages in the business of

    maintaining and reporting consumer credit information.

                         JURISDICTION AND VENUE

6. This Court has subject matter jurisdiction over this matter pursuant to 28

    U.S.C. § 1331 because the rights and obligations of the parties in this action

    arise out of 15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an

    action to enforce any liability created under 15 U.S.C. § 1681 may be brought

    in any appropriate United States District Court, without regard to the amount in

    controversy.

7. Venue in this district is proper pursuant to 28 U.S.C. § 1391 (b)(2) because a

    substantial part of the events and omissions giving rise to Plaintiff’s claims

    occurred in Ohio where the Plaintiff resides.

                          FACTUAL ALLEGATIONS

8. Defendant Credit First issued a credit card account ending in 6777 to Plaintiff.

    The account was routinely reported on Plaintiff’s consumer credit report.

9. The consumer report at issue is a written communication of information

    concerning Plaintiff’s credit worthiness, credit standing, credit capacity,

    character, general reputation, personal characteristics, or mode of living which

    is used or for the purpose of serving as a factor in establishing the consumer’s

    eligibility for credit to be used primarily for personal, family, or household

    purposes as defined by 15 U.S.C. § 1681a(d)(1) of the FCRA.



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10. On or about April 24, 2019, Plaintiff and Credit First entered into a settlement

    agreement for the above referenced account. A copy of the settlement

    agreement is attached hereto as Exhibit A.

11. Pursuant to the terms of the settlement, Plaintiff was required to make a lump

    sum payment totaling $294.08 to settle and close her Credit First account.

12. Plaintiff, via her debt settlement representative timely made the requisite

    settlement payment. Proof of this payment is attached hereto as Exhibit B.

13. However, over half a year later, Plaintiff’s Credit First account continued to be

    negatively reported.

14. In particular, on a requested credit report dated December 26, 2019, Plaintiff’s

    Credit First account was reported with a status of “CHARGE OFF,” a balance

    of $294.00 and a past due balance of $294.00. The relevant portion of

    Plaintiff’s credit report is attached hereto as Exhibit C.

15. This tradeline was inaccurately reported. As evidenced by the settlement

    agreement and proof of payment, the account was settled for less than full

    balance and must be reported as settled with a balance of $0.00.

16. On or about February 12, 2020, Plaintiff, via her attorney at the time, notified

    credit reporting agencies directly of a dispute with completeness and/or

    accuracy of the reporting of Plaintiff’s Credit First account. A redacted copy of

    this letter and the certified mail receipts are attached hereto as Exhibit D.

17. Therefore, Plaintiff disputed the accuracy of the derogatory information

    reported by Credit First to credit reporting agencies via certified mail in

    accordance with 15 U.S.C. § 1681i of the FCRA.



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18. In April of 2020, Plaintiff requested updated credit reports for review. The

    tradeline for Plaintiff’s Credit First account remained inaccurate, as Defendants

    failed to correct the inaccuracy. The relevant portion of the April 2020 credit

    report is attached hereto as Exhibit E.

19. Equifax did not notify Credit First of the dispute by Plaintiff in accordance with

    the FCRA, or alternatively, did notify Credit First and Credit First failed to

    properly investigate and delete the tradeline or properly update the tradeline on

    Plaintiff’s credit reports.

20. If Credit First had performed a reasonable investigation of Plaintiff’s dispute,

    Plaintiff’s Credit First account would have been updated to reflect a “settled”

    status with a balance of $0.00.

21. Despite the fact that Credit First has promised through its subscriber

    agreements or contracts to accurately update accounts, Credit First has

    nonetheless willfully, maliciously, recklessly, wantonly, and/or negligently

    failed to follow this requirement as well as the requirements set forth under the

    FCRA, which has resulted in the intended consequences of this information

    remaining on Plaintiff’s credit reports.

22. Defendants failed to properly maintain and failed to follow reasonable

    procedures to assure maximum possible accuracy of Plaintiff’s credit

    information and Plaintiff’s credit reports, concerning the account in question,

    thus violating the FCRA. These violations occurred before, during, and after

    the dispute process began with Equifax.




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23. At all times pertinent hereto, Defendants were acting by and through their

    agents, servants and/or employees, who were acting within the scope and

    course of their employment, and under the direct supervision and control of the

    Defendants herein.

24. At all times pertinent hereto, the conduct of Defendants, as well as that of their

    agents, servants and/or employees, was malicious, intentional, willful, reckless,

    negligent and in wanton disregard for federal law and the rights of the Plaintiff

    herein.

                           CLAIM FOR RELIEF

25. Plaintiff reasserts and incorporates herein by reference all facts and allegations

    set forth above.

26. Equifax is a “consumer reporting agency,” as codified at 15 U.S.C. § 1681a(f).

27. Credit First is an entity that, regularly and in the course of business, furnishes

    information to one or more consumer reporting agencies about its transactions

    or experiences with any consumer and therefore constitutes a “furnisher,” as

    codified at 15 U.S.C. § 1681s-2.

28. Credit First is reporting inaccurate credit information concerning Plaintiff to

    one or more credit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.

29. Plaintiff notified Defendants directly of a dispute on the account’s

    completeness and/or accuracy, as reported.

30. Credit First failed to complete an investigation of Plaintiff’s written dispute and

    provide the results of an investigation to Plaintiff and the credit bureaus within

    the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).



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      31. Credit First failed to promptly modify the inaccurate information on Plaintiff’s

           credit reports in violation of 15 U.S.C. § 1681s-2(b).

      32. Equifax failed to delete information found to be inaccurate, reinserted the

           information without following the FCRA, or failed to properly investigate

           Plaintiff’s disputes.

      33. Equifax failed to maintain and failed to follow reasonable procedures to assure

           maximum possible accuracy of Plaintiff’s credit reports, concerning the

           account in question, violating 15 U.S.C. § 1681e(b).

      34. As a result of the above violations of the FCRA, Plaintiff suffered actual

           damages in one or more of the following categories: lower credit score, denial

           of credit, embarrassment and emotional distress caused by the inability to

           obtain financing for everyday expenses, rejection of credit card application,

           higher interest rates on loan offers that would otherwise be affordable and other

           damages that may be ascertained at a later date.

      35. As a result of the above violations of the FCRA, Defendants are liable to

           Plaintiff for actual damages, punitive damages, statutory damages, attorney’s

           fees and costs.



      WHEREFORE, Plaintiff demands that judgment be entered against Defendants as

follows:

      1. That judgment be entered against Defendants for actual damages
         pursuant to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;

      2. That judgment be entered against Defendants for punitive damages
         pursuant to 15 U.S.C. § 1681n;



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       3. That the Court award costs and reasonable attorney's fees pursuant to 15
          U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o; and

       4. That the Court grant such other and further relief as may be just and
          proper.

                            DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands

trial by jury in this action of all issues so triable.

                                          Respectfully Submitted,


                                 Law Offices of Robert S. Gitmeid & Associates, PLLC

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